 Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 1 of 31 Page ID #:24528




1    JOHN W. BERRY (bar admission pending, L.R. 83-2.4.1)
     Email: berryj@sec.gov
2    DONALD W. SEARLES, Cal. Bar No. 135705
     Email: searlesd@sec.gov
3    GARY Y. LEUNG (bar admission pending, L.R. 83-2.4.1)
     Email: leungg@sec.gov
4
     Attorneys for Plaintiff
5    Securities and Exchange Commission
     Michele Wein Layne, Regional Director
6    John W. Berry, Regional Trial Counsel
     5670 Wilshire Boulevard, 11th Floor
7    Los Angeles, California 90036
     Telephone: (323) 965-3998
8    Facsimile: (323) 965-3908
9
10                        UNITED STATES DISTRICT COURT
11                      CENTRAL DISTRICT OF CALIFORNIA
12
13   SECURITIES AND EXCHANGE                 Case No. 12-CV-01179-JVS-ANx
     COMMISSION,
14                                           PLAINTIFF’S OPPOSITION TO
                 Plaintiff,                  DEFENDANT MOSHAYEDI’S
15                                           MOTION TO EXCLUDE OPINIONS
           vs.                               AND TESTIMONY OF DR. RICHARD
16                                           BERGIN
     MANOUCHEHR MOSHAYEDI,
17
                 Defendant.                  Date:    October 21, 2013
18                                           Time:    11:00 a.m.
                                             Ctrm:    10C
19                                           Judge:   Hon. James V. Selna
20
21
22
23
24
25
26
27
28
                                                          Case No. 12-CV-01179-JVS-ANx
 Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 2 of 31 Page ID #:24529




1                                              TABLE OF CONTENTS
2
3    I.     INTRODUCTION ..................................................................................................... 1
4    II.    STATEMENT OF FACTS ........................................................................................ 2
5            A.      The SEC’s Expert, Dr. Richard Bergin ........................................................... 2
6            B.      The SEC’s Case And Dr. Bergin’s Opinions .................................................. 3
7                     1.      Dr. Bergin’s event study methodology ................................................. 4
8                     2.      Dr. Bergin’s event study conclusions ................................................... 6
9                              a.       July 16, 2009 ............................................................................... 6
10                             b.       November 4, 2009 ...................................................................... 7
11                             c.       February 24, 2010 ....................................................................... 8
12   III.   ARGUMENT ............................................................................................................. 9
13           A.      Because This Is An Insider Trading And Fraudulent Omissions Case,
                      It Is Not Proper To Do An Event Study For August 3rd .............................. 10
14
             B.      Dr. Bergin Analysis Of The July 16th, November 4th And February
15                    24th Price Movements Are All Relevant ...................................................... 12
16                    1.      The July 16, November 3 and February 24 event study results
                               are relevant and “fit” the facts of this case ......................................... 13
17
                               a.       The relevancy of the July 16, 2009 event study ....................... 13
18
                               b.       The relevancy of the November 4, 2009 event study ............... 14
19
                               c.       The relevancy of the February 23, 2010 event study ............... 15
20
                      2.      The disclosures studied by Dr. Bergin do not have to “mirror”
21                             the undisclosed information known to Moshayedi on August 3 ........ 16
22           C.      Dr. Bergin’s Analysis, Unlike Dr. Ferrell’s, Is Not A Disgorgement
                      Calculation..................................................................................................... 18
23
             D.      Moshayedi’s Discrete Methodological Criticisms Are Not Persuasive ........ 19
24
                      1.      Dr. Bergin disaggregated confounding factors ................................... 21
25
                      2.      Dr. Bergin reliably used analyst declarations as confirmation
26                             for his conclusions .............................................................................. 24
27   IV.    CONCLUSION........................................................................................................ 25
28
                                                                  i                          Case No. 12-CV-01179-JVS-ANx
 Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 3 of 31 Page ID #:24530




1                                          TABLE OF AUTHORITIES
2    

3    Alaska Rent-A-Car, Inc. v. Avis Budget Group, Inc.,
           2013 WL 4779709 (9th Cir. Jun. 19, 2013) ....................................................9
4
     Bricklayers & Trowel Trades Int’l Pension Fund v. Credit Suisse First Boston,
5          853 F.Supp.2d 181 (D. Mass. 2012) ................................................... 4, 12, 16
6    Carpenters Health & Welfare Fund v. Coca-Cola Co.,
          2008 WL 4737173 (N.D. Ga. 2008) ..............................................................22
7
     City of Livonia Employees’ Retirement System v. Wyeth, et al.,
8           284 F.R.D. 173 (S.D.N.Y. 2012) ...................................................................10
9    FindWhat Investor Group v. FindWhat.com,
          658 F.3d 1282 (11th Cir. 2011) .....................................................................18
10
     General Elec. Co. v. Jackson,
11        595 F.Supp.2d 8 (D.D.C.2009)......................................................................20
12   In re Diamond Foods, Inc.,
            2013 U.S. Dist. LEXIS 64464 (N.D. Cal. May 6, 2013)...............................25
13
     In re Heckmann,
14          2013 WL 2456104 (D. Del. Jun. 6, 2013) ....................................................22
15   In re Merck & Co., Inc. Sec. Litig.,
           432 F.3d 261 (3d Cir.2005) ...........................................................................11
16
     In re Miller Indus. Sec. Litig,
17         120 F.Supp.2d 1371 (N.D. Ga. 2000)............................................................25
18   In re Novatel Wireless Sec. Litig.,
            910 F.Supp.2d 1209 (S.D. Cal. 2012)
19          (quoting Bazemore v. Friday,
            478 U.S. 385 (1986)) .....................................................................................21
20
     In re REMEC Inc. Sec. Litig.,
21          702 F. Supp. 2d 1202 (S.D. Cal. 2010) .........................................................22
22   In re Williams Sec. Litig.,
           558 F.3d 1130 (10th Cir. 2009) .....................................................................18
23
     Katyle v. Penn Nat. Gaming, Inc.,
24         637 F.3d 462 (4th Cir. 2011) .........................................................................18
25   Massachusetts Retirement Sys. v. CVS Caremark Corp.,
          716 F.3d 229 (1st Cir. 2013)..........................................................................18
26
     Miller v. Thane Int’l., Inc.,
27         2005 WL 5957833 (C.D. Cal. Mar. 3, 2005)
           (quoting Mukhtar v. California State Univ.,
28         299 F.3d 1053 (9th Cir. 2002)) ........................................................... 9, 16, 17
                                                               ii                       Case No. 12-CV-01179-JVS-ANx
 Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 4 of 31 Page ID #:24531



     Mueller v. Auker,
1          700 F.3d 1180 (9th Cir. 2012) .........................................................................9
2    Ryan v. Flowserve Corp.,
           245 F.R.D. 560 (N.D. Tex. 2007) ..................................................................25
3
     SEC v. Berlacher,
4         2010 WL 3566790 (E.D. Pa. Sept. 13, 2010) ................................................20
5    SEC v. Blavin,
          760 F.2d 706 (6th Cir.1985) ..........................................................................17
6
     SEC v. Constantin,
7         2013 WL 1453792 (S.D.N.Y. Apr. 2, 2013) .................................................17
8    SEC v. Pirate Investor LLC,
          580 F.3d 233 (4th Cir. 1999) .........................................................................17
9
     SEC v. Sabhlok,
10        2010 WL 2944255 (N.D. Cal. Jul. 23, 2010) ......................................... 21, 22
11   SEC v. Tambone,
          597 F.3d 436 (1st Cir. 2010)..........................................................................17
12
     U.S. v. Grabske,
13          260 F.Supp.2d 866 (N.D. Cal. 2002) .............................................................11
14   U.S. v. Ferguson,
            584 F.Supp.2d 447 (D. Conn. 2008) .............................................................11
15
     U.S. v. Schiff,
16          602 F.3d 152 (3d Cir. 2010) ..........................................................................19
17   Walker v. Woodford,
          593 F.Supp.2d 1140 (S.D. Cal. 2008) ...........................................................25
18
19
20
21
22
23
24
25
26
27
28
                                                            iii                      Case No. 12-CV-01179-JVS-ANx
 Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 5 of 31 Page ID #:24532




1    I.    INTRODUCTION
2          Defendant Moshayedi asks this Court to exclude the expert testimony of the
3    SEC’s expert, Dr. Richard Bergin, the only expert to have completed a full event
4    study of the corrective disclosures in this case. See Dkt. No. 259-1 (Def. Mot.).
5          Dr. Bergin’s opinions in this matter are beyond reproach. To support the
6    SEC’s burden to prove materiality, he conducted event studies regarding sTec’s stock
7    price changes on July 16, 2009, November 4, 2009 and February 24, 2010. Based on
8    this rigorous analysis, he determined that the “statistically significant abnormal
9    returns” in sTec’s stock price on those dates were attributable to the following
10   disclosures: (1) the July announcement of sTec’s $120 million volume agreement
11   with EMC, (2) the revelation in November that, based on “preliminary indications,”
12   EMC “might” be carrying inventory of sTec’s ZeusIOPS drives, and (3) the
13   confirmation in February that EMC, in fact, had built up such a large inventory that
14   EMC would no longer need to purchase drives from sTec for the first half of 2010.
15         Dr. Bergin’s event study methodology is undisputedly reliable. Neither of
16   Moshayedi’s experts—Dr. Mukesh Bajaj and Prof. Allen Ferrell—have any criticism
17   of Dr. Bergin’s methodology. And both agree that Dr. Bergin’s use of an
18   econometric regression analysis and his review of analyst expectations during the
19   relevant period are an appropriate methodology.
20         Moshayedi nonetheless argues that Dr. Bergin’s event study dates are
21   “irrelevant” to the SEC’s claims. Moshayedi asserts that instead of July 16,
22   November 4 and February 24, Dr. Bergin should have conducted an event study on
23   August 3—the date of Moshayedi’s insider trading and fraudulent omissions.
24         Both points fail to withstand any degree of scrutiny. First, Dr. Bergin’s event
25   study dates are unquestionably relevant. The disclosures on these dates and what
26   Moshayedi knew are all of the same cloth—they all concern weakened, forecasted
27   demand for ZeusIOPS, which was inconsistent with the two-quarter, $120 million
28   volume agreement announced to the market on July 16.
                                                1                  Case No. 12-CV-01179-JVS-ANx
 Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 6 of 31 Page ID #:24533




1          Second, it is well-settled that event studies are intended to analyze the stock
2    price movements on dates when undisclosed information was revealed to the market.
3    They are not meant to, and cannot, study price movements on a date when a
4    fraudulent omission was made or when insider trading on non-public information
5    took place. In those situations, by definition, the market has nothing to react to since
6    the information withheld or traded on was not public. Therefore, an event study of
7    the stock movement on August 3, 2009 would be utterly meaningless here. That day,
8    Moshayedi traded on and failed to disclose non-public information regarding the risk
9    of inventory buildup at EMC and EMC’s unwillingness to enter into another volume
10   commitment contract. Dr. Bergin thus correctly studied the stock price reaction to
11   the days in November and February when this information was ultimately disclosed.
12         Finally, Moshayedi’s contention that Dr. Bergin made no effort to disaggregate
13   confounding factors is belied by the record. As reflected in his report, and then made
14   clear in his deposition, Dr. Bergin painstakingly examined and identified all of the
15   disclosures which potentially drove sTec’s abnormal price returns on July 16,
16   November 4 and February 24. In any event, Moshayedi’s disagreement with the
17   conclusions that Dr. Bergin reached, rather than the methodology that he employed,
18   is a matter for cross-examination at trial, and is not a basis for exclusion.
19         Therefore, Moshayedi’s motion to exclude Dr. Bergin from testifying should
20   be denied.
21   II.   STATEMENT OF FACTS
22         A.     The SEC’s Expert, Dr. Richard Bergin
23         The SEC has offered one expert to testify at trial in its case-in-chief, Dr.
24   Richard Bergin. The other two SEC expert witnesses—Mr. Stuart Harden, CPA, and
25   Mr. Matthew Behan—are offered only to rebut the opinions of Moshayedi’s experts,
26   to the extent these experts are even allowed to testify.
27         Moshayedi does not challenge Dr. Bergin’s expert qualifications, and for good
28   reason. Dr. Bergin is a Principal in KPMG’s Forensic practice, and is the co-lead of
                                                 2                   Case No. 12-CV-01179-JVS-ANx
 Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 7 of 31 Page ID #:24534




1    KPMG’s Economics & Regulation practice in the United States. See Bergin Report
2    at Ex. 1.1 He has taught courses in economics and valuation at New York University
3    and Harvard Business School. Dr. Bergin earned his doctorate in business
4    administration with highest distinction from Harvard Business School, and he also
5    holds a M.B.A. from Harvard Business School. In his practice, Dr. Bergin has
6    directed many engagements, including representing clients involved in investigations
7    and enforcement activity by the SEC, CFTC, DOJ, and state attorneys general.
8          B.    The SEC’s Case And Dr. Bergin’s Opinions
9          The SEC has the burden of proving the materiality of the non-public
10   information that Moshayedi was aware of when he insider traded and that he failed to
11   disclose in August and November 2009. As to Moshayedi’s August insider trading
12   and omissions, the SEC must prove, among other things, that it was material for
13   investors to know that (1) there was a risk that EMC would be holding a substantial
14   amount of inventory as a result of the $55 million side deal between EMC and sTec,
15   and (2) EMC had told Moshayedi that the $120 million supply agreement, which he
16   had touted as an indication of sTec’s future growth, was just a “one-off” contract and
17   would not be repeated again. This non-public information was partially disclosed on
18   November 3, when Moshayedi disclosed that EMC “might” have an inventory build-
19   up and that sTec’s contract with EMC was just a “one-off” contract.
20         For Moshayedi’s November 3rd fraud, the SEC must prove that Moshayedi’s
21   statement that he and sTec had received “preliminary indications” that EMC “might”
22   be holding inventory of ZeusIOPS drives heading into 2010 was materially
23
     1
24    The June 18, 2013 Expert Report of Dr. Richard J. Bergin (“Bergin Report”) and the
     July 12, 2013 Expert Rebuttal Report of Dr. Richard J. Bergin (“Bergin Rebuttal
25   Report”) cited in this motion are attached as Exhibits 5 and 6, respectively, to the
     Declaration of Gary Leung (Dkt. No. 258). Excerpts of Dr. Bergin’s July 24th
26   deposition testimony are cited in this motion as “Bergin Depo. Tr.” and are attached
27   as Exhibit 20 to the Declaration of Gary Y. Leung In Support Of The SEC’s
     Oppositions To Defendant’s Motions In Limine Nos. 1-4 and To Exclude Plaintiff’s
28   Expert Witnesses (“Leung MIL Decl.”).
                                               3                  Case No. 12-CV-01179-JVS-ANx
 Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 8 of 31 Page ID #:24535




1    misleading because he knew at the time that EMC was holding a substantial amount
2    of inventory. On February 23, 2010, Moshayedi finally disclosed that EMC’s
3    inventory balance was significant, and thus EMC would not be buying any more sTec
4    product during the first half of 2010.
5          To help the SEC prove the materiality of the non-public information, the SEC
6    has proffered Dr. Bergin, who undertook a thorough event study analysis of sTec’s
7    stock price movement and disclosures on three dates: July 16, 2009, November 3,
8    2009 and February 24, 2010. See Bergin Report at 9-10.
9                 1.     Dr. Bergin’s event study methodology
10         The event study method employed by Dr. Bergin “is an accepted method for
11   the evaluation of materiality [and] damages to a class of stockholders in a defendant
12   corporation.” In re Imperial Credit Indus. Sec. Litig., 252 F.Supp.2d 1005, 1014
13   (C.D.Cal. 2003). An event study is a two-step process. First, the study uses a
14   statistical analysis to determine whether changes in stock price are due to factors
15   unique to the company. Second, the study analyzes whether the isolated price change
16   is attributable to the disclosures at issue. See id.; see also Bricklayers & Trowel
17   Trades Int’l Pension Fund v. Credit Suisse First Boston, 853 F.Supp.2d 181 (D.
18   Mass. 2012) (cited by Def. Mot. at 5, 7, 10-11, 17).
19         This was the exact methodology employed by Dr. Bergin. As a first step, he
20   constructed an econometric regression of sTec’s daily stock price performance from
21   July 16, 2009 to February 24, 2010. See Bergin Report at 22-23. He selected this
22   time period because it contained the three days he studied (July 16, 2009, November
23   4, 2009 and February 24, 2010). Dr. Bergin’s model utilized a market factor and an
24   industry factor to control for, isolate and remove general market and industry-specific
25   influences on sTec’s stock price. Id. By doing so, Dr. Bergin segregated company-
26   specific influences on sTec’s stock price. After running his econometric regression,
27   Dr. Bergin calculated the abnormal return of sTec’s stock price attributable to
28   company-specific disclosures on the three dates. Id. at 33, 44, 56.
                                                 4                  Case No. 12-CV-01179-JVS-ANx
 Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 9 of 31 Page ID #:24536




1          Dr. Bergin also performed the second, important step in an event study
2    analysis—namely, determining whether the change in sTec’s stock price was
3    attributable to the disclosures in question. To accomplish this, Dr. Bergin considered
4    every new disclosure to the market on his event study dates and examined whether
5    those disclosures would have warranted a material change to sTec’s current and
6    future financial performance. Id. at 27. Dr. Bergin then assessed whether any part of
7    the abnormal return was attributable to company-specific information disclosed on
8    the same day other than the “disclosures of interest.” Id. at 26.
9          To analyze the significance of company-specific disclosures, Dr. Bergin also
10   examined the extent to which equity analysts commented on these disclosures in their
11   research reports, and how analysts changed their forecasts for sTec’s earnings and
12   revenues in light of the disclosures. Id. Dr. Bergin reviewed all 105 equity research
13   reports on sTec issued by investment banks and brokerage firms covering sTec from
14   June 16, 2009 to February 24, 2010. Id. at 29.
15         To confirm that a disclosure was not previously known by market participants
16   and was disclosed to the market on the day under evaluation, Dr. Bergin considered
17   every analyst’s expectations prior to sTec’s disclosures on July 16, November 3 and
18   February 23. He also analyzed any change in analyst expectations and commentary
19   immediately following the three disclosure dates. Id. at 30. He paid particular
20   attention to the emphasis placed by analysts on the disclosed news, and the extent of
21   their discussion on the new information. Id. Dr. Bergin took this approach in order
22   to ascertain the importance of each piece of new information to analyst coverage. Id.
23         Dr. Bergin then reviewed the equity analysts’ published forecast models on
24   sTec’s financial performance both before and after the disclosures occurring on July
25   16th, November 3rd and February 23rd. Id. at 30-31. For each analyst, Dr. Bergin
26   analyzed how his or her revenue and earnings forecasts for 2009 and 2010 changed
27   over time and in specific response to sTec disclosures. He also examined these
28   models in the aggregate, calculating maximum, minimum, mean, and median figures
                                                5                  Case No. 12-CV-01179-JVS-ANx
     Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 10 of 31 Page ID
                                     #:24537



1    for the universe of analyst models. He used this aggregate data as a consensus proxy
2    of market expectations. Id. at 31, Schedules 2a-3d. By assessing the sTec analysts’
3    earnings and revenue models, Dr. Bergin obtained quantitative validation of his
4    conclusions regarding the significance of sTec-specific disclosures.
5          To further corroborate his opinions, Dr. Bergin also considered declarations
6    submitted by eight sTec analysts in this litigation. Those declarations summarized
7    the analysts’ contemporaneous research reports, highlighted the basis of the analysts’
8    opinions regarding the drivers of sTec’s growth in 2009, and detailed how their
9    coverage of sTec would have changed had they known about EMC’s weak 3Q09
10   demand forecast and the circumstances surrounding the $55 million deal, in which
11   Moshayedi paid EMC $2 million to take $55 million in drives in the third quarter.
12   The analyst declarations corroborated the conclusions Dr. Bergin reached when
13   reviewing their contemporaneous reports on sTec from 2009. Id.2
14                2.    Dr. Bergin’s event study conclusions
15         Dr. Bergin performed an event study for each of the three dates (July 16, 2009,
16   November 4, 2009 and February 24, 2010) that he analyzed. For all three dates, Dr.
17   Bergin concluded that sTec’s stock price experienced a statistically significant
18   abnormal return, and he attributed the returns to disclosures made on each day.
19                      a.     July 16, 2009
20         Dr. Bergin concluded that sTec’s stock price experienced a statistically
21   significant positive return of 12.98% on July 16, 2009. He concluded that this return
22
     2
       As a final step, if a disclosure’s impact was directionally opposite to sTec’s
23   observed price movement (e.g., if a disclosure was positive but sTec’s stock price
24   nonetheless declined), then Dr. Bergin treated that disclosure as having no price
     impact. Id. at 27-28. This approach was conservative because removing the positive
25   impact of encouraging news only served to understate the negative impact of the
     disclosure of interest. Id. at 28 n.85. Also, if a disclosure instead influenced sTec’s
26   stock price in the same direction as the observed price movement (e.g., if a disclosure
27   was negative and sTec’s stock price decreased), then Dr. Bergin assessed whether
     the disclosure overlapped with a disclosure of interest. If overlapping, Dr. Bergin
28   concluded it would not have exerted a unique impact on sTec’s stock price. Id. at 28.
                                                6                  Case No. 12-CV-01179-JVS-ANx
     Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 11 of 31 Page ID
                                     #:24538



1    was attributable to the announcement on that day that sTec had entered into the $120
2    million supply contract, and the market’s understanding that the execution of this
3    agreement portended a sustainable and increased level of demand consistent with the
4    two-quarter $120 million contract amount. See id. at 9, 32-33. He reached this
5    conclusion by studying stock analyst commentaries before and after the July 16th
6    announcement. See id. at 34-38. Dr. Bergin found that the market was unaware of
7    this information before July 16th, that analysts’ expectations changed following July
8    16 as reflected in their reports, and that analysts’ earnings and revenue models were
9    revised upward following July 16th. See id. at 34-39, Schedule 2a (analysts’ median
10   revenue estimates for 2009 and 2010 moved from $331 million/$417 million to $346
11   million/$497 million after July 16th announcement).
12                      b.     November 4, 2009
13         Dr. Begin also concluded that sTec’s stock price experienced a statistically
14   significant negative return of 38.82% on November 4, 2009. See id. at 9. Dr. Bergin
15   identified five disclosures that were considered significant by sTec equities analysts:
16   (1) sTec’s 3Q09 financial results; (2) Moshayedi’s statement that he had received
17   “preliminary indications” that EMC “might” carry inventory into 2010; (3)
18   Moshayedi’s statement that he had just learned about the inventory problem “a week
19   ago” and the initiation of a joint marketing program with EMC to address the issue;
20   (4) sTec’s 4Q09 guidance; and (5) Moshayedi’s statement that the $120 million EMC
21   volume agreement was a “one-off” contract. Id. at 40-43. For each disclosure, Dr.
22   Bergin confirmed that they reflected new information, that they were a focus of
23   analyst commentary (see, e.g., “the big announcement on the call was that EMC may
24   not be able to sell the entire $120M it has committed to purchasing in F2H09”), and
25   that the disclosures coincided with a downward revision of analysts’ revenue and
26   earnings models (see, e.g., median analysts estimates for 2010 revenue dropped from
27   $491 million to $420 million).
28         Dr. Bergin removed the positive disclosure that sTec exceeded its 3Q09
                                                7                  Case No. 12-CV-01179-JVS-ANx
     Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 12 of 31 Page ID
                                     #:24539



1    guidance, because he concluded, consistent with his approach, that that positive
2    disclosure would not explain sTec’s stock price drop on that date. This resulted in a
3    conservative and likely understated measure of the negative impact of the remaining
4    disclosures of interest. Dr. Bergin also removed offsetting and overlapping negative
5    disclosures (i.e., sTec’s announcement of a joint marketing program with EMC and
6    its downwardly revised 4Q09 guidance both of which overlapped with the negative
7    disclosures on EMC’s expected demand). Id. at 44-54.
8          As a result of this analysis, he concluded that the negative abnormal return on
9    November 4th was attributable to Moshayedi’s disclosures the day before that EMC
10   “might” have “preliminary indications” of an inventory buildup of sTec’s products,
11   and that the EMC supply agreement was just a “one-off” contract (that is, the second
12   and fifth disclosures listed above). See id.
13                       c.    February 24, 2010
14         Finally, Dr. Bergin concluded that sTec’s stock price exhibited a statistically
15   significant abnormal negative return of 23.33% on February 24, 2010. See id. at 10.
16   Dr. Bergin identified four disclosures that were considered significant by sTec
17   equities analysts: (1) sTec’s 4Q09 financial results; (2) the announcement of a stock
18   repurchase program; (3) Moshayedi’s statement that because EMC’s inventory
19   carryover from the $120 million volume agreement continued to negatively impact
20   sales, sTec did not expect any meaningful production orders from EMC in 1H 2010;
21   and (4) sTec’s 1Q10 guidance. Id. at 54-55. As before, Dr. Bergin determined that
22   the disclosures concerned information previously unknown to the market, confirmed
23   that they were of significance to analysts given their discussion in reports issued
24   following the disclosures (see, e.g., “STEC delivered an in-line F4Q-09, but guidance
25   for F1Q-10 was worse than even our worst-case expectations, as mgmt. sees no sales
26   to EMC in F1H-10 due to the inventory overhang”), and examined the downgrade in
27   analysts’ earnings and revenue models following the November 23 disclosures (see,
28   e.g., median revenue estimates for 2010 dropped from $415 million to $209 million
                                                    8              Case No. 12-CV-01179-JVS-ANx
     Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 13 of 31 Page ID
                                     #:24540



1    after February 23).
2           Because sTec’s 4Q09 results and its announced stock repurchase program were
3    positive news that otherwise would have resulted in an increase in sTec’s share price,
4    these disclosures were conservatively treated as having no price effect (thus resulting
5    in an understated measure of the negative news’ impact) and were removed from Dr.
6    Bergin’s inquiry.
7           As a result of this analysis, Dr. Begin concluded that the negative abnormal
8    return on February 24th was attributable to the news disclosed the previous day that
9    EMC had a huge inventory balance of sTec drives and so would not be purchasing
10   any more drives in the first part of the year (that is, the third and fourth disclosures
11   listed above). See id. at 54-64.
12   III.   ARGUMENT
13          Rule 702 of the Federal Rules of Evidence governs the admission of expert
14   testimony; in this area, the district court retains “broad latitude.” Miller v. Thane
15   Int’l., Inc., No. SACV 03-1031-JVS (SGLx), 2005 WL 5957833, *1 (C.D. Cal. Mar.
16   3, 2005) (Selna, J.) (quoting Mukhtar v. California State Univ., Hayward, 299 F.3d
17   1053, 1064 (9th Cir. 2002)). A “district court is not tasked with deciding whether the
18   expert is right or wrong, just whether his testimony has substance such that it would
19   be helpful to the jury.” Alaska Rent-A-Car, Inc. v. Avis Budget Group, Inc., Nos. 10-
20   35137, 10-35615, 2013 WL 4779709 (9th Cir. Jun. 19, 2013); Mueller v. Auker, 700
21   F.3d 1180, 1191 (9th Cir. 2012) (finding expert opinion “relevant with respect not
22   only to the substantive issues before the jury” and holding that “[o]nce admissible,
23   the weight to be given to [expert’s] testimony was for the jury to determine”). Rule
24   702 permits expert testimony when it is based on sufficient facts or data and is the
25   product of reliable principles and methods, and the expert has applied his or her
26   methodology reliably to the facts of the case. FED. R. EVID. 702.
27
28
                                                  9                  Case No. 12-CV-01179-JVS-ANx
     Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 14 of 31 Page ID
                                     #:24541



1          A.     Because This Is An Insider Trading And Fraudulent Omissions
2                 Case, It Is Not Proper To Do An Event Study For August 3rd
3          Moshayedi’s criticism of Dr. Bergin is primarily focused on the fact that Dr.
4    Bergin did not do an event study of sTec’s stock price movement on August 3, 2009.
5    See Def. Mot. at 7-8. He claims Dr. Bergin’s opinions should be cast aside solely
6    because Dr. Bergin “did not analyze any of the statements that Moshayedi made on
7    August 3.” Id. at 8.
8          Moshayedi completely misses the point. This is an insider trading and
9    omissions case. On August 3, 2009, Moshayedi traded on non-public information
10   regarding the risk of EMC’s inventory buildup and EMC’s unwillingness to do
11   another volume commitment contract like the $120 million 2H 2009 deal. None of
12   that information was presented to the market on August 3—it was non-public, after
13   all—so the market, by definition could not react to it. As for the few affirmative
14   misstatements Moshayedi made on August 3rd, they were false and misleading
15   because of the non-public, undisclosed information Moshayedi knew that day.
16         Moshayedi’s criticism that Dr. Bergin did not conduct a full event-study
17   analysis of August 3rd is therefore baffling. In an omissions case, event studies
18   necessarily look not to the date of the “alleged disclosure deficiency,” but instead to
19   the dates that the undisclosed information was revealed to the market. For example,
20   in City of Livonia, the Southern District of New York addressed this exact issue in
21   examining the related question of market efficiency. City of Livonia Employees’
22   Retirement System v. Wyeth, et al., 284 F.R.D. 173 (S.D.N.Y. 2012). There, the
23   defendants focused on the dates of the alleged misrepresentations and omissions—
24   i.e., August 3rd for purposes here. Having found no statistically significant price
25   impact, the defendants argued that the market for the securities in question was not
26   efficient. See id. at 181-82. The court was not persuaded given the nature of
27   plaintiffs’ claims:
28                In this case—which is primarily about omissions—Defendants’
                                                10                 Case No. 12-CV-01179-JVS-ANx
     Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 15 of 31 Page ID
                                     #:24542



                  evidence that there was no statistically significant price impact on
1                 the dates of the alleged omissions is inapposite. As Defendant’s
2                 own expert explains, in “a case about omissions, … conducting
                  event study analysis on the dates of the alleged omissions would
3                 not be probative [of price impact] and therefore, one would only
                  look at the alleged corrective disclosure date.
4
     Id. at 182 (emphasis in original).
5
           In an omissions or insider trading case, the information at issue remains
6
     undisclosed on the day of the fraud or insider trading. Thus, event studies which
7
     focus on that day are structurally ill-suited for determining the materiality of the
8
     omitted information. This makes eminent sense, and is confirmed by leading
9
     academic commentary:
10
                  Many of the disclosures in a complaint identify dates in which
11                defendants omitted material information. But, an event study is
                  designed to quantify the effect of disclosed information, not
12                undisclosed information. Such use of an event study is completely
13                improper.
     Frank Torchio, Proper Event Study Analysis In Securities Litigation, 35 J. Corp. L.
14
     159, 159-160 (2009) (emphasis added).
15
           When, as here, an expert must reliably assess the materiality of omitted
16
     information, the operative inquiry is directed to when the market learned the truth,
17
     rather than the date of the fraud or insider trading. See In re Merck & Co., Inc. Sec.
18
     Litig., 432 F.3d 261, 274 (3d Cir.2005) (explaining that where the “efficient market
19
     hypothesis” is invoked, “‘the materiality of disclosed information may be measured
20
     post hoc by looking to the movement, in the period immediately following disclosure,
21
     of the price of the firm’s stock’”) (emphasis added); U.S. v. Grabske, 260 F.Supp.2d
22
     866, 867 (N.D. Cal. 2002) (“An event study looks to how the price of the stock
23
     changed after the fraud was disclosed as evidence of the amount by which it was
24
     inflated prior to disclosure.”) (emphasis added); U.S. v. Ferguson, 584 F.Supp.2d
25
     447, 449 n.3 (D. Conn. 2008) (“Typically, event studies work backward from what is
26
     ultimately determined to be a fair price, after dissipation of inflation, to determine
27
     how much inflation was contained in the price due to fraud during the relevant time
28
                                                11                  Case No. 12-CV-01179-JVS-ANx
     Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 16 of 31 Page ID
                                     #:24543



1    frame all the way back to the beginning.”) (emphasis added) (quotations omitted).
2          Consequently, Dr. Bergin’s selection of November 4 and February 24 as dates
3    for examination, rather than August 3, was appropriate because this is an insider
4    trading case involving non-public information and fraudulent omissions. It was on
5    the November and February dates that the undisclosed information Moshayedi knew
6    in August was finally (but partially)3 disclosed to the market.4
7          B.     Dr. Bergin Analysis Of The July 16th, November 4th And February
8                 24th Price Movements Are All Relevant
9          Moshayedi also argues that Dr. Bergin’s event study analysis of sTec’s stock
10   price changes on July 16, November 4 and February 24 are irrelevant. See Def. Mot.
11   at 9-14. He claims that Dr. Bergin did not even consider the non-public facts known
12   to Moshayedi on August 3. Id. at 7-8. And he goes so far as to argue that Dr. Bergin
13   needed to establish that the disclosures he identified must be mirror images of
14   Moshayedi’s fraud.
15         As a threshold matter, however, Moshayedi’s complaint that Dr. Bergin failed
16   to show how his event study is relevant to the SEC’s claims (see, e.g., Def. Mot. at 9-
17   10, 12) is not an appropriate criticism of an expert. It is not the expert who is tasked
18
     3
19     One piece of material information that Moshayedi knew in August, and traded on
     but did not disclose, was that he had sought and secured the secret $55 million side
20   deal with EMC to make sure sTec’s 3Q09 revenue guidance could meet analysts’
     expectations. That deal was not disclosed to the market until this case was filed.
21   4
       Moshayedi’s principal case on this point, Bricklayers, does not lead to a contrary
22   result. See Def. Mot. at 5 (citing Bricklayers, 853 F. Supp. 2d 181). Moshayedi
     implies that Bricklayers proscribed a bright-line “requirement” that an event study
23   must analyze both “the days the allegedly fraudulent misrepresentations were made
24   and the days the market learned the truth.” Def. Mot. at 5:22-25. Bricklayers does no
     such thing. The court expressly found that the expert’s failure to consider 22 of 34
25   days in which fraud allegedly occurred to be “unconventional,” but ultimately
     determined that the expert’s decision not to study all of the days did “not necessarily
26   subvert his study.” 853 F. Supp. 2d at 187. Instead, the expert’s opinions were
27   excluded because of his pervasive cherry-picking of days, and most egregiously, his
     use of corrective disclosure dates in which the only news released to the market was
28   positive, and not negative. Id.
                                                12                  Case No. 12-CV-01179-JVS-ANx
     Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 17 of 31 Page ID
                                     #:24544



1    with arguing his client’s case, rather, it is up to the party—the SEC—to explain why
2    an expert’s opinions are relevant to the issues in the case. Therefore, that Dr. Bergin
3    did not articulate the SEC’s arguments for why his opinions are relevant to the SEC’s
4    case is completely irrelevant to the admissibility of his opinions. In any event, as
5    discussed below, his opinions are directly relevant to the SEC’s claims.
6                 1.    The July 16, November 3 and February 24 event study results
7                       are relevant and “fit” the facts of this case
8          Moshayedi also argues that “none” of the dates Dr. Bergin studied “is relevant
9    to the SEC’s claims.” Def. Mot. at 9. Moshayedi asserts that Dr. Bergin performed
10   no analysis of the non-public information possessed by Moshayedi on August 3rd.
11   See id. at 8. But there is no disconnect between the alleged inside information and
12   the disclosures that Dr. Bergin identified on July 16, November 3 and February 23.
13   The disclosures identified by Dr. Bergin on those dates are directed to the very same
14   subject matter as Moshayedi’s insider trading—they all revolve around EMC’s
15   demand for ZeusIOPS, and whether the run-rate implied by the $120 million volume
16   agreement announced by Moshayedi in July accurately provided a baseline for
17   growth in in the second half of 2009 and in future quarters. See SEC v. Leslie, 2010
18   WL 2991038, *13-14 (N.D. Cal. Jul. 29, 2010) (rejecting defense argument that
19   expert’s materiality opinion was unreliable because disclosure did not reveal alleged
20   misrepresentation where “logical inference” could be drawn between the two).
21                      a.     The relevancy of the July 16, 2009 event study
22         Although no fraud is alleged to have occurred on July 16, 2009, Dr. Bergin’s
23   event study regarding sTec’s stock price reaction to the news disclosed that day is
24   still relevant to this case. On that day, sTec announced the $120 million volume
25   agreement with EMC. Dr. Bergin determined that market participants garnered, from
26   that announcement, two pieces of information: (1) that sTec’s quarterly run rate with
27   EMC had significantly increased and (2) that the execution of a volume commitment
28   of that magnitude augured a sustainable and increased level of demand in future
                                                13                 Case No. 12-CV-01179-JVS-ANx
     Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 18 of 31 Page ID
                                     #:24545



1    periods. See Bergin Report at 32-33.
2          The market’s positive and statistically significant reaction to this information
3    supports the SEC’s case in three ways. First, it establishes the significance to
4    investors of the supply agreement itself—the key contract in this case. Second, it
5    shows the importance of EMC’s August 3rd communication to Moshayedi that, to a
6    “high degree of confidence,” it would not be entering into any more volume
7    commitments with sTec. After all, as Dr. Bergin’s analysis shows, the mere
8    announcement of the deal had moved the market to conclude that the growth in
9    EMC’s ZeusIOPS demand would continue. And third, Dr. Bergin’s July 16 event
10   study establishes the materiality of EMC’s late-July negative demand forecast.
11   sTec’s 2Q09 EMC revenue was in the range of $33 million. The late-July EMC
12   3Q09 forecast of $33.4 million showed no quarter-to-quarter growth in sTec’s EMC
13   business. This information, known to Moshayedi by late July, was directly at odds
14   with the news previously disclosed by sTec on July 16—that the execution of the
15   $120 million two-quarter supply agreement indicated EMC’s actual level of demand
16   for the second half of 2009 and portended the sustainability of an increased level of
17   demand into future periods.5
18                      b.     The relevancy of the November 4, 2009 event study
19         The relevancy of Dr. Bergin’s event study of the November 3rd disclosures
20   (and the price reaction to those disclosures the following day) should not even be in
21   dispute. On November 3, sTec announced that it had received “preliminary
22   indications” that EMC “might” have inventory going into 2010, and that the $120
23   million EMC volume agreement was a “one-off.” The market’s negative and
24   statistically significant reaction to those disclosures supports the SEC’s case because
25   sTec’s November 3 disclosure of a potential inventory problem at EMC and the non-
26
     5
27     To be clear, the SEC has not alleged that, on July 16, Moshayedi knew or was
     reckless in not knowing that EMC’s demand for sTec’s products would be lower than
28   contemplated under the $120 million contract.
                                                14                 Case No. 12-CV-01179-JVS-ANx
     Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 19 of 31 Page ID
                                     #:24546



1    recurring nature of the EMC volume commitment paralleled what Moshayedi knew
2    on August 3rd: (1) that there was risk that EMC would accumulate significant
3    inventory of sTec’s products as a result of the $120 million supply agreement, given
4    EMC’s forecasted demand for 3Q09 was just $33-34 million; and (2) that EMC had
5    told Moshayedi, with a “high degree of confidence,” that the $120 million volume
6    agreement would not be repeated.
7          Remarkably, Moshayedi argues that none of the non-public information
8    Moshayedi knew in August was disclosed on November 3. See Def. Mot. at 11-12.
9    That is simply not true. In August, Moshayedi learned of a risk of inventory, and that
10   risk was finally disclosed in November when he told the markets there “might” be an
11   inventory buildup. In August, he learned that EMC would not do another volume
12   commitment, and in November, he finally told the market that the 2H09 volume deal
13   with EMC was just a “one-off” contract. Clearly, these two pieces of non-public
14   information were known in August and then disclosed in November. To argue
15   otherwise, Moshayedi gives a bullet-point list of the disclosures he claims were made
16   on November 3, and then argues that this list shows that “[n[either of these two facts
17   was disclosed” that day. See id. But that is disingenuous, at best. Moshayedi
18   conspicuously leaves off this “list” the very two disclosures that form the basis of the
19   SEC’s claim—his disclosure that there “might” be inventory, and his disclosure that
20   the volume commitment was just a “one-off type of deal.”
21                      c.     The relevancy of the February 23, 2010 event study
22         Finally, Dr. Bergin’s event study of the February 23, 2010 disclosures and the
23   stock price reaction on February 24 is relevant to the SEC’s claims. Specifically, on
24   February 23, sTec confirmed that inventory carryover had occurred at EMC because
25   its actual demand in 2H09 was well below the $120 million in ZeusIOPS that EMC
26   was obligated to buy under the volume agreement. Rather than reflecting EMC’s true
27   two-quarter demand, the $120 million volume commitment would likely meet EMC’s
28   requirements for a full four quarters (i.e., approximately $30 million in EMC revenue
                                                15                 Case No. 12-CV-01179-JVS-ANx
     Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 20 of 31 Page ID
                                     #:24547



1    per quarter). Once again, this disclosure tracks the non-public information in
2    Moshayedi’s possession on August 3rd, when he knew that there was a significant
3    risk of inventory build-up at EMC given EMC’s 3Q09 forecast of only $33-34
4    million. Accordingly, the market’s negative and statistically significant reaction to
5    sTec’s February 23 disclosures is also supportive of the SEC’s materiality case. Just
6    as importantly, Dr. Bergin’s analysis of February 23 also supports the materiality of
7    Moshayedi’s misrepresentations and omissions on November 3. On that day, he
8    disclosed that he had “recently” received “preliminary indications” that “might” have
9    inventory, but he, in fact, knew that EMC exited the third quarter with $30 million in
10   inventory, and expected to accumulate an additional $60 million in inventory in the
11   fourth quarter.
12         Therefore, Moshayedi’s claim that Dr. Bergin’s July 16, November 3 and
13   February 23 event studies do not “fit” the facts of the case is unfounded. The
14   information that Dr. Bergin identified for these three dates undoubtedly bears an
15   “actual relationship to defendant’s alleged fraud.” Bricklayers, 853 F.Supp.2d at 187.
16   Regardless, even if Moshayedi’s criticism of Dr. Bergin’s lack of analysis regarding
17   August 3rd was valid, that criticism goes only to the weight of Dr. Bergin’s
18   testimony, not its admissibility. See, e.g., Miller, 2005 WL 5957833, *3 (admitting
19   event study that did not incorporate standard regression analysis).
20                2.    The disclosures studied by Dr. Bergin do not have to “mirror”
21                      the undisclosed information known to Moshayedi on August 3
22         Finally, in order to frame Dr. Bergin’s event disclosure dates as irrelevant,
23   Moshayedi urges that Dr. Bergin’s disclosures of interest must be a “mirror image” of
24   the facts that Moshayedi knew but failed to disclose in August. Def. Mot. at 11, 14.
25         However, Moshayedi’s authority for this proposition is inapposite because the
26   cases he cites largely concern loss causation in private shareholder actions. Dr.
27   Bergin’s opinions have nothing to do with loss causation; instead, they are supportive
28   of the SEC’s theory of materiality. See Bergin Report at 6-7. More importantly, the
                                               16                  Case No. 12-CV-01179-JVS-ANx
     Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 21 of 31 Page ID
                                     #:24548



1    loss causation cases cited by Moshayedi have no bearing here because the SEC does
2    not have to prove loss causation in SEC enforcement actions. See SEC v. Pirate
3    Investor LLC, 580 F.3d 233, 239 n.10 (4th Cir. 1999) (“Unlike private litigants, the
4    SEC need not prove the additional elements of reliance or loss causation.”); SEC v.
5    Blavin, 760 F.2d 706, 711 (6th Cir.1985); SEC v. Tambone, 597 F.3d 436, 464 (1st
6    Cir. 2010); SEC v. Constantin, No. 11 Cv. 4642 (MHD), 2013 WL 1453792, *11
7    (S.D.N.Y. Apr. 2, 2013).
8          Thus, even though materiality and loss causation are often intertwined, the two
9    concepts are not coextensive for purposes of this Court’s Daubert inquiry. This
10   Court’s Miller decision is instructive on this key point. In that case, an expert opined
11   on the materiality of misrepresentations made in a proxy statement and prospectus,
12   and further opined on class damages. 2005 WL 5957833, *5-6. The opposing party
13   challenged both opinions on the ground that the other party’s expert “did not even
14   attempt to factor out the effect of other events that could have accounted for a portion
15   of the [stock’s price] decline.” Id. at *6. Although the Court agreed with this
16   “disaggregation” criticism, it did not exclude the expert’s opinion that the purported
17   misrepresentation was material; instead, the expert’s methodological error only went
18   to her conclusion on damages, i.e., “loss causation.” Id. That was because the
19   expert’s opinion on materiality was not dependent on a precise calculation of the
20   portion of the stock drop attributable to non-fraud events. In the Court’s estimation,
21   it was sufficient for the expert to demonstrate materiality by demonstrating “some
22   degree” of price reaction to the alleged fraud. Id..
23         Here, Dr. Bergin expresses no opinion on loss causation—he only draws
24   conclusions as to the abnormal stock price returns that, through his event study
25   methodology, he was able to attribute to the disclosures of interest. See Bergin
26   Report at 6-7. These opinions support the SEC’s case for materiality. So, consistent
27   with Miller, Moshayedi’s criticisms that Dr. Bergin “failed to disaggregate” and
28   ignored “confounding information” have less import in this context—where the
                                                17                 Case No. 12-CV-01179-JVS-ANx
     Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 22 of 31 Page ID
                                     #:24549



1    opinions are being used to help establish materiality—than they would had they been
2    offered to prove loss causation. Moreover, even if these criticisms were valid (and
3    they are not), those arguments do not mandate exclusion.6
4          In sum, because all of Dr. Bergin’s disclosures of interest “relate” to “the same
5    subject matter” of Moshayedi’s alleged fraud, his opinions are helpful to the jury, are
6    based on an unmistakably reliable event study methodology, and should be admitted
7    under Rule 702. See Massachusetts Retirement Sys., 716 F.3d at 240; In re Williams
8    Sec. Litig., 558 F.3d at 1140; FindWhat Investor Group, 658 F.3d at 1312 n.28.
9          C.     Dr. Bergin’s Analysis, Unlike Dr. Ferrell’s, Is Not A Disgorgement
10                Calculation
11         Moshayedi also complains that Dr. Bergin’s opinions are disgorgement
12   calculations that should be reserved for the remedy phase of this case. See Mot. at
13   15-16. That is a remarkable position to take, given what Dr. Bergin actually did and
14   what Moshayedi’s own expert, Prof. Allen Ferrell did.
15         Dr. Bergin did not do a disgorgement calculation or attempt to measure
16   Moshayedi’s unjust enrichment. He did an event study, which is a standard, well-
17   accepted method for determining whether a change in a company’s stock price can be
18   attributed to what was disclosed to the market on a particular day. In SEC
19   enforcement actions, where loss causation or damages are not at issue, event studies
20   are used for one primary purpose—to assist in establishing (or disproving)
21   materiality. And that is all that Dr. Bergin has done here for the SEC. For example,
22
     6
       Even if the opinions were being offered to establish loss causation, a corrective
23   disclosure must only “relate” back to “the same subject matter” as the alleged fraud.
24   Massachusetts Retirement Sys. v. CVS Caremark Corp., 716 F.3d 229, 240 (1st Cir.
     2013); In re Williams Sec. Litig., 558 F.3d 1130, 1140 (10th Cir. 2009); FindWhat
25   Investor Group v. FindWhat.com, 658 F.3d 1282, 1312 n.28 (11th Cir. 2011). For
     loss causation, there is no requirement that the corrective disclosure “precisely
26   mirror” the alleged misrepresentation, or that the corrective disclosure correlate “fact-
27   for-fact” with the earlier fraud. Id.; see also Massachusetts Retirement Sys., 716 F.3d
     at 240; Katyle v. Penn Nat. Gaming, Inc., 637 F.3d 462, 472 (4th Cir. 2011); In re
28   Oracle Corp. Sec. Litig., 2009 WL 1709050, *12 (N.D. Cal. Jun. 19, 2009).
                                                18                  Case No. 12-CV-01179-JVS-ANx
     Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 23 of 31 Page ID
                                     #:24550



1    he concludes that the almost 40% price drop on November 4th was due to the
2    disclosure that EMC “might” have an inventory buildup and EMC’s $120 million
3    supply contract with sTec was just a “one-off” contract. That is probative and helpful
4    for the jury to assess the materiality of the same two pieces of information, which
5    Moshayedi knew when he sold his stock on August 3rd.
6          On the other hand, it is Moshayedi’s expert, Prof. Ferrell, who has done a
7    disgorgement analysis. And the SEC agrees with Moshayedi—that analysis should
8    not be presented to the jury. See Def. Mot. at 15. As the SEC made clear in its
9    motion to exclude Prof. Ferrell, Prof. Ferrell hopes to offer his “but-for” price impact
10   analyses, which, as he puts it, “measure the per share price impact attributable to the
11   alleged omissions.” Dkt. No. 258, Ex. 1 (Ferrell Report) ¶ 9. And it was Prof. Ferrell
12   who criticized the SEC’s disgorgement calculation, and offered an alternative
13   “maximum amount by which Mr. Moshayedi could have been enriched by any
14   alleged disclosure deficiency.” Id. ¶ 18; see also Dkt. No. 255-2 (SEC motion to
15   exclude Ferrell) at 6. Therefore, if anyone’s opinions regarding disgorgement should
16   be excluded, it should be the expert who actually tried to calculate the amount of
17   disgorgement or “avoided losses.” And that was Moshayedi’s expert, not Dr. Bergin.
18         D.     Moshayedi’s Discrete Methodological Criticisms Are Not Persuasive
19         Finally, Moshayedi attempts to discredit Dr. Bergin’s event study
20   methodology. See Def. Mot. at 16-24. However, no one disputes that the event study
21   method “is an accepted method for the evaluation of materiality [and] damages to a
22   class of stockholders in a defendant corporation.” In re Imperial Credit Indus. Sec.
23   Litig., 252 F.Supp.2d 1005, 1014 (C.D.Cal.2003); see also U.S. v. Schiff, 602 F.3d
24   152, 174 n.31 (3d Cir. 2010) (acknowledging that an event study is a reliable
25   methodology for establishing materiality). Because litigants must “distinguish
26   between the fraud-related and non-fraud related influences of the stock’s price
27   behavior,” In re Oracle Sec. Litig., 829 F. Supp. 1176, 1181 (N.D. Cal. 1993), event
28   study analyses have taken a central role in determining materiality and damages in
                                                19                 Case No. 12-CV-01179-JVS-ANx
     Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 24 of 31 Page ID
                                     #:24551



1    securities litigation. See General Elec. Co. v. Jackson, 595 F.Supp.2d 8, 23–24
2    (D.D.C.2009) (stating that an event study is an acceptable method of determining the
3    effect of an event on stock price); SEC v. Berlacher, 2010 WL 3566790, *8 (E.D. Pa.
4    Sept. 13, 2010) (accepting expert-conducted event study “as reliable and the best
5    measure of materiality”); SEC v. Leslie, 2010 WL 2991038, *11-14 (N.D. Cal. Jul.
6    29, 2010) ) (rejecting Daubert challenge to event study used to prove materiality).
7          In fact, Moshayedi’s own experts—Prof. Ferrell and Dr. Bajaj—do not criticize
8    Dr. Bergin’s methodology at all. Prof. Ferrell and Dr. Bajaj have no criticism of the
9    time period selected by Dr. Bergin for use in his regression model. See Leung MIL
10   Decl., Ex. 18 (Bajaj Depo. Tr.) at 75:17-22; Ex. 21 (Ferrell Depo. Tr.) at 56:10-18.
11   Nor do they take issue with Dr. Bergin’s market and industry factors. Id. Prof.
12   Ferrell did not conduct an event study of his own and instead chose to adopt Dr.
13   Bergin’s for use in forming his opinions. Id., Ex. 21 (Ferrell Depo. Tr.) at 56:22-
14   57:3. Dr. Bajaj only conducted a regression analysis without performing the
15   disaggregation step necessary to the conclusions he reached. Dkt. No. 255,
16   Attachment No. 1 at 21-22.
17         Moreover, as for Dr. Bergin’s examination of analyst commentary, both Prof.
18   Ferrell and Dr. Bajaj concurred in this approach. See Leung MIL Decl., Ex. 21
19   (Ferrell Depo. Tr.) at 64:10-25 (“One of the things you can do—and I do in my
20   rebuttal report—is to do an analysis based on … what market actors, such as analysts,
21   are saying about why they think the information is important or how they are using
22   the information.”); id., Ex. 18 (Bajaj Depo. Tr.) at 57:7-59:14 (“I would look at,
23   under most circumstances I can imagine right now, what other analysts thought and
24   said and did as part of the consideration”). From their respective reports, it is
25   abundantly clear that Prof. Ferrell and Dr. Bajaj—like Dr. Bergin himself—relied
26   heavily on analyst commentary when forming their opinions in the case. See Dkt.
27   No. 258, Leung Decl., Ex. 3 (Bajaj Report), Appx. 2; Ex. 1 (Ferrell Report), Appx. B.
28         Therefore, Moshayedi and his defense experts criticize only the conclusions
                                                20                  Case No. 12-CV-01179-JVS-ANx
     Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 25 of 31 Page ID
                                     #:24552



1    reached by Dr. Bergin, not his methodology. But that is not a basis to exclude Dr.
2    Bergin’s report. See, e.g., SEC v. Sabhlok, No. C-08-4238 EMC, 2010 WL 2944255,
3    *7 (N.D. Cal. Jul. 23, 2010) (“Ultimately, the parties confuse reliability with
4    correctness …. The general methodologies employed by the experts (e.g. events
5    analysis) are generally reliable and accepted.”). In any event, Moshayedi’s claims
6    that Dr. Bergin did not reliably disaggregate confounding information and that his
7    opinions are based on “unreliable” analyst declarations are meritless.
8                 1.    Dr. Bergin disaggregated confounding factors
9          As described supra, under his methodology, Dr. Bergin accounted for the
10   influence of informational disclosures other than the disclosures of interest by
11   analyzing analyst reports, revenue and earnings models, and declarations to assess
12   their significance to market participants; if overlapping, these disclosures were
13   removed, and if directionally opposite to the movement of sTec’s stock price on that
14   day, these disclosures were removed for the sake of conservatism. Prof. Ferrell and
15   Dr. Bajaj did the exact same thing—they looked to analyst commentary to gauge
16   materiality. Thus, what Moshayedi takes issue with are the conclusions that Dr.
17   Bergin reached after applying the very same methodological tool brought to bear by
18   Moshayedi’s two rebuttal experts. This is no basis for exclusion.
19         In the In re Novatel case, the district court confronted the very same criticism
20   at bar—that an event study failed to consider “multiple pieces of information that are
21   entirely separate and distinct” from the alleged fraud—and found no grounds to
22   exclude. As the court explained:
23                Defendants are correct that Steinholt’s event study could have
                  included an analysis of non-fraud-related company-specific news.
24                However, the failure to consider one of the relevant variables does
                  not dictate exclusion of the report as unreliable. Generally, the
25                failure to include a variable in a regression analysis affects the
26                probative value of the analysis and not necessarily its admissibility.

27   In re Novatel Wireless Sec. Litig., 910 F.Supp.2d 1209, 1215 (S.D. Cal. 2012)

28   (quoting Bazemore v. Friday, 478 U.S. 385, 400 (1986)), vacated on other grounds

                                                21                 Case No. 12-CV-01179-JVS-ANx
     Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 26 of 31 Page ID
                                     #:24553



1    by 2013 WL 494361; see also In re REMEC Inc. Sec. Litig., 702 F. Supp. 2d 1202,
2    1273 (S.D. Cal. 2010) (“Where a study accounts for the ‘major factors’ but not ‘all
3    measurable variables,’” it is admissible); Carpenters Health & Welfare Fund v.
4    Coca-Cola Co., 2008 WL 4737173 (N.D. Ga. 2008) (economist’s choice of variable
5    for event study went to weight and not admissibility); see also SEC v. Leslie, No. C
6    07-3444, 2010 WL 2991038, *14-15 (N.D. Cal. Jul. 29, 2010) (where expert did not
7    read entire Form 10-Q and accordingly failed to filter out the effect of other negative
8    information contained therein that was not referenced in any of the newspaper
9    sources actually reviewed by the expert, criticism went to weight rather than
10   admissibility—“While each of these arguments appropriately may be made on cross-
11   examination, they do not show that Davis’s opinion should be excluded entirely.”);
12   Sabhlok, 2010 WL 2944255, *7 (“Ultimately, the parties confuse reliability with
13   correctness.”); In re Heckmann, No. 10-378-LPS-MPT, 2013 WL 2456104, *8 (D.
14   Del. Jun. 6, 2013) (criticism of event study dates went to weight not admissibility).
15         In any event, each of the criticisms lodged by Moshayedi has no merit:
16         July 16, 2009. Moshayedi argues that Dr. Bergin failed to account for two
17   other disclosures on July 16: (1) sTec’s announcement of a $28 million contract for
18   its Mach8 product, and (2) sTec’s announcement of full-year guidance for ZeusIOPS
19   sales in the amount of $220 million. Def. Mot. at 17-18. At deposition, Dr. Bergin
20   explained that sTec’s full-year guidance was already baked into its robust revenue
21   guidance on June 16, one month earlier. As a result, the full-year guidance was not
22   picked up by the market as new information. Leung MIL Decl., Ex. 20 (Bergin
23   Depo. Tr.) at 133:1-136:25. As for the Mach8 announcement, that information was
24   disclosed on July 13th. Thus, according to the efficient markets hypothesis that Dr.
25   Bergin, Dr. Bajaj, and Prof. Ferrell all assumed, any price influence of the Mach8
26   contract would have already been incorporated into sTec’s stock price prior to July
27   16. Dkt No. 258, Leung Decl., Ex. 2 (Bajaj Report) at Appendix 3a (“in an efficient
28   market prices react very quickly to value-relevant news, often within a few
                                               22                  Case No. 12-CV-01179-JVS-ANx
     Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 27 of 31 Page ID
                                     #:24554



1    minutes”); see also Leung MIL Decl., Ex. 18 (Bajaj Depo. Tr.) at 60:7-15 (assuming
2    sTec stock traded in semi-strong form efficient market); Dkt. No. 258, Leung Decl.,
3    Ex. 1 (Ferrell Report) at ¶ 82 (assuming market efficiency); Leung MIL Decl., Ex. 21
4    (Ferrell Depo. Tr.) at 83:23-84:14 (“If the market is semi-strong, efficient, then, by
5    definition, the publicly available information will be reflected in the price, or quickly
6    reflected in the price.”).
7           November 3, 2009. Moshayedi further contends that Dr. Bergin failed to
8    account for two other disclosures on November 3: (1) inferential information that,
9    based on its announced 3Q09 figures, sTec had only sold $60.7 million in ZeusIOPS
10   drives, and (2) 4Q09 guidance that “impliedly” demonstrated that sTec expected only
11   $2-3 million in 4Q09 sales to non-EMC customers. Def. Mot. at 19. Dr. Bergin
12   addressed both of these points at his deposition and in his report, explaining that these
13   disclosures regarding weak non-EMC demand were stale and had already been
14   incorporated into sTec’s stock price, and that sTec’s 3Q09 results—which exceeded
15   its guidance from August 3—was on balance, positive news. See Leung MIL Decl.,
16   Ex. 20 (Bergin Depo. Tr.) at 203:25-205:10.7
17          February 23, 2010. Finally, Moshayedi asserts that Dr. Bergin did not
18   disaggregate the effect of two other disclosures on February 23, (1) that Mach8
19   revenues would not grow until a successor product hit the market in 2H 2010, and (2)
20   that sTec’s operating expenses would increase by $10 million per quarter. Def. Mot.
21   at 20. Analysts, however, were divided over the meaning of the Mach8 news. See
22   Leung MIL Decl., Ex 22 (2/24/10 B. Riley report) (believing focus of 2/23 earnings
23
     7
24     Moshayedi also argues that Dr. Bergin ignored the materialization of competitive
     risks from August 3 to November 3. This is the exact subject of Dr. Bergin’s
25   Rebuttal Report, where he explained that competition and slower than expected
     adoption of solid state drives cannot explain with any statistical significance sTec’s
26   stock price decline from August 4 to November 3. Dkt. No. 258, Leung Decl., Ex. 6
27   (Bergin Rebuttal Report). In any event, as further explained in the SEC’s motion in
     limine to exclude Dr. Bajaj, the cause of sTec’s stock price drop from August 3 to
28   November 3, 2009, is irrelevant to any issue in this case. See Dkt. No. 255-1.
                                                23                  Case No. 12-CV-01179-JVS-ANx
     Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 28 of 31 Page ID
                                     #:24555



1    call was almost entirely on EMC and expecting total Mach sales to resume growth
2    upon shipment of Mach18 product); Ex. 23 (2/24/10 Thomas Wiesel report) (no
3    mention of Mach as driver of analysts’ investment thesis); Ex. 24 (2/24/10 Stifel
4    Nicolaus report) (referencing Mach product line but not ascribing any negative
5    developments to it); Ex. 25 (2/24/10 Pacific Crest report) (noting nothing negative
6    about Mach product line in investment thesis and showing total Mach sales increasing
7    from 4Q09 to 4Q10); Ex. 26 (2/24/10 Needham report) (noting only increased sales
8    of Mach in 4Q09); Ex. 27 (2/24/10 Wedbush report) (no mention of Mach product
9    line at all). As for sTec’s alleged disclosure of increased operating expenses on
10   February 23rd, this disclosure was stale news. During the August 3rd earnings call,
11   Moshayedi stated that sTec would continue to keep on spending on R&D, that it
12   would continue to try to add positions, and that any increases in operating expenses
13   would be attributable to R&D. Leung MIL Decl., Ex. 28 (8/3/09 earnings transcript)
14   at 11. Because this information was previously disclosed and already known as of
15   August 3, 2009, it was not confounding news on February 23, 2010.
16                2.    Dr. Bergin reliably used analyst declarations as confirmation
17                      for his conclusions
18         Moshayedi’s contention that Dr. Bergin’s opinions rely “almost exclusively”
19   on the sworn declarations of eight sTec analysts is just wrong. Def. Mot. at 21. But
20   under any fair reading of his report, Dr. Bergin utilized a vast amount of information
21   on analyst commentary and expectations in 2009—indeed, he reviewed and
22   considered every single sTec analyst report issued from June 2009 to February 2010.
23   Dr. Bergin also constructed consensus views on sTec’s future earnings and revenue
24   by compiling all of the available data on analysts’ forecasting models in that same
25   timeframe. As to the declarations, Dr. Bergin employed those only to “confirm the
26   materiality of the disclosures of interest[.]” Bergin Report at 30.
27         More to the point, there is nothing unreliable about considering the sworn
28   statements of percipient witnesses to Moshayedi’s alleged fraud. See Walker v.
                                                24                 Case No. 12-CV-01179-JVS-ANx
     Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 29 of 31 Page ID
                                     #:24556



1    Woodford, 593 F.Supp.2d 1140, 1148 n.3 (S.D. Cal. 2008) (“As an expert witness,
2    Dr. Poceta may properly consider Plaintiff's medical records and the declarations of
3    percipient witnesses in forming and expressing his opinions.”). The bulk of each
4    analysts’ declaration is comprised of their factual account of events, rather than the
5    putative “hypothetical conclusions” that Moshayedi characterizes those affidavits to
6    be. Proof of this reliability need come no further than Dr. Bajaj himself. Like Dr.
7    Bergin, Dr. Bajaj considered the sworn testimony of sTec stock analysts—both
8    deposition testimony and the affidavits submitted in this case—when rendering his
9    opinions. Dkt. No. 258, Leung Decl., Ex. 2 (Bajaj Report) at Appendix 2. See In re
10   Diamond Foods, Inc., No. C-11-05386 WHA, Fed. Sec. L. Rptr. (CCH) P. 97,414,
11   2013 U.S. Dist. LEXIS 64464, * 37 (N.D. Cal. may 6, 2013) (finding that
12   information selected by expert in conducting event study, including reliance on
13   analyst reports, reasonably objective ); Ryan v. Flowserve Corp., 245 F.R.D. 560, 579
14   n. 32 (N.D. Tex. 2007) (expert’s review of analyst reports proper, as “[r]eports of
15   market analysts serve as a good indication of the knowledge of the market as a
16   whole.”); In re Miller Indus. Sec. Litig, 120 F.Supp.2d 1371, 1381 (N.D. Ga. 2000)
17   (expert properly relied on analyst reports to determine materiality of information at
18   issue).
19   IV.    CONCLUSION
20          For the foregoing reasons, the SEC respectfully requests that the Court deny
21   Moshayedi’s motion to exclude opinions and testimony of Dr. Richard Bergin in its
22   entirety.
23   Dated: September 30, 2013              Respectfully submitted,
24
                                            /s/ Gary Y. Leung
25                                          John W. Berry
26                                          Donald W. Searles
                                            Gary Y. Leung
27                                          Attorney for Plaintiff
                                            Securities and Exchange Commission
28
                                                25                 Case No. 12-CV-01179-JVS-ANx
     Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 30 of 31 Page ID
                                     #:24557



1                                   PROOF OF SERVICE
2    I am over the age of 18 years and not a party to this action. My business address is:
3          U.S. SECURITIES AND EXCHANGE COMMISSION,
           5670 Wilshire Boulevard, 11th Floor, Los Angeles, California 90036-3648
4          Telephone No. (323) 965-3213; Facsimile No. (323) 965-3908.
5    On September 30, 2013, I caused to be served the document entitled PLAINTIFF’S
     OPPOSITION TO DEFENDANT MOSHAYEDI’S MOTION TO EXCLUDE
6    OPINIONS AND TESTIMONY OF DR. RICHARD BERGIN on all the parties to
     this action addressed as stated on the attached service list:
7
     ‫܆‬      OFFICE MAIL: By placing in sealed envelope(s), which I placed for
8    collection and mailing today following ordinary business practices. I am readily
     familiar with this agency’s practice for collection and processing of correspondence
9    for mailing; such correspondence would be deposited with the U.S. Postal Service on
     the same day in the ordinary course of business.
10
           ‫܆‬      PERSONAL DEPOSIT IN MAIL: By placing in sealed envelope(s),
11   which I personally deposited with the U.S. Postal Service. Each such envelope was
     deposited with the U.S. Postal Service at Los Angeles, California, with first class
12   postage thereon fully prepaid.
13
           ‫܆‬     EXPRESS U.S. MAIL: Each such envelope was deposited in a facility
14   regularly maintained at the U.S. Postal Service for receipt of Express Mail at Los
     Angeles, California, with Express Mail postage paid.
15
     ‫܆‬      HAND DELIVERY: I caused to be hand delivered each such envelope to the
16   office of the addressee as stated on the attached service list.
17   ‫܆‬     UNITED PARCEL SERVICE: By placing in sealed envelope(s) designated
     by United Parcel Service (“UPS”) with delivery fees paid or provided for, which I
18   deposited in a facility regularly maintained by UPS or delivered to a UPS courier, at
     Los Angeles, California.
19
     ‫܆‬      ELECTRONIC MAIL: By transmitting the document by electronic mail to
20   the electronic mail address as stated on the attached service list.
21   ‫܈‬    E-FILING: By causing the document to be electronically filed via the Court’s
     CM/ECF system, which effects electronic service on counsel who are registered with
22   the CM/ECF system.
23   ‫܆‬     FAX: By transmitting the document by facsimile transmission. The
     transmission was reported as complete and without error.
24
           I declare under penalty of perjury that the foregoing is true and correct.
25
     Date: _September 30, 2013                      /s/ Gary Y. Leung _______________
26                                                  GARY Y. LEUNG
27
28
                                                1
     Case 8:12-cv-01179-JVS-AN Document 296 Filed 10/01/13 Page 31 of 31 Page ID
                                     #:24558



1                       SEC v. MANOUCHEHR MOSHAYEDI
               United States District Court—Central District of California
2                          Case No. 12-CV-01179 (JVS) (ANx)
3                                          SERVICE LIST
4           Sean M. Berkowitz                         Patrick Gibbs
            LATHAM & WATKINS LLP                      LATHAM & WATKINS LLP
5
            233 South Wacker Drive, Suite 5800        140 Scott Drive
6           Chicago, IL 60606                         Menlo Park, CA 94025
            Direct Dial: 312-777-7016                 Direct Dial: 650-463-4696
7           sean.berkowitz@lw.com                     patrick.gibbs@lw.com
8           Matthew Rawlinson                         William R. Baker, III
9           LATHAM & WATKINS LLP                      LATHAM & WATKINS LLP
            140 Scott Drive                           555 Eleventh Street, NW
10          Menlo Park, CA 94025                      Suite 1000
            Telephone: 650-463-3076                   Washington, D.C. 20004-1304
11          matt.rawlinson@lw.com                     Direct Dial: 202-637-1007
                                                      william.baker@lw.com
12
13          Colleen Smith                             Jennifer S. Duckworth (Paralegal)
            LATHAM & WATKINS LLP                      LATHAM & WATKINS LLP
14          600 W. Broadway, Suite 1800               140 Scott Drive
            San Diego, CA 92101                       Menlo Park, CA 94025
15          Direct Dial: 619-238-2950                 Direct Dial: 650-463-3012
            colleen.smith@lw.com                      jennifer.duckworth@lw.com
16
17          Everett Bulthuis (Paralegal)              Thomas P. O’Brien
            LATHAM & WATKINS LLP                      PAUL HASTINGS LLP
18          650 Town Center Drive                     515 South Flower Street, 25th Floor
            20th Floor                                Los Angeles, California 90071
19          Costa Mesa, CA 92626-1925                 Telephone: 213-683-6000
            Direct Dial: 714-755-8247                 thomasobrien@paulhastings.com
20          Cell: 714-747-1814
21          everett.bulthuis@lw.com                   Attorneys for Defendant

22          Thomas A. Zaccaro
            PAUL HASTINGS LLP
23          515 South Flower Street, 25th Floor
            Los Angeles, California 90071
24          Telephone: 213-683-6000
25          thomaszaccaro@paulhastings.com

26          Attorneys for Defendant
27
28
                                                  2
